















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS








WR-70,257-01






EX PARTE ROBERT GENE LEOS GARZA









ON APPLICATION FOR WRIT OF HABEAS CORPUS 

CAUSE NO. CR-0945-03-I IN THE 370TH DISTRICT COURT

HIDALGO COUNTY





	Per Curiam.  


O R D E R



	This is an application for writ of habeas corpus filed pursuant to the provisions of
Article 11.071 of the Texas Code of Criminal Procedure.

	In December 2003, Applicant was convicted of the offense of capital murder.  The
jury answered the special issues submitted under Article 37.071 of the Texas Code of
Criminal Procedure, and the trial court, accordingly, set punishment at death.  This Court
affirmed Applicant's conviction and sentence on direct appeal.  Garza v. State, 213 S.W.3d
338 (Tex. Crim. App. 2007).  

	In his application, Applicant presents six allegations in which he challenges the
validity of his conviction and resulting sentence.  The trial court held an evidentiary hearing
and entered findings of fact and conclusions of law.

	This Court has reviewed the record with respect to the allegations made by Applicant. 
We adopt the trial court's findings of fact and conclusions of law.  Based upon the trial
court's findings and conclusions and our own review, we deny relief.

	IT IS SO ORDERED THIS THE 10TH DAY OF SEPTEMBER, 2008.


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